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                                         No. 22-1008

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

         SIERRA CLUB, WEST VIRGINIA RIVERS COALITION, WEST VIRGINIA
             HIGHLANDS CONSERVANCY, INDIAN CREEK WATERSHED
         ASSOCIATION, APPALACHIAN VOICES, and CHESAPEAKE CLIMATE
                              ACTION NETWORK
                                  Petitioners
                                              v.
        WEST VIRGINIA DEPARTMENT OF ENVIRONMENTAL PROTECTION, and
          HAROLD WARD, in his official capacity as Secretary of the West Virginia
                       Department of Environmental Protection
                                    Respondents
                                             and
                             MOUNTAIN VALLEY PIPELINE, LLC
                                  Intervenor-Respondent

                                On Petition for Review from the
                    West Virginia Department of Environmental Protection’s
         State §401 Water Quality Certification No. WQC-21-2005 (December 30, 2021)

                          PETITIONERS’ FINAL OPENING BRIEF

                                    DEREK O. TEANEY
                                 BENJAMIN A. LUCKETT
                                  ELIZABETH A. BOWER
                           APPALACHIAN MOUNTAIN ADVOCATES. INC.
                                        P.O. Box 507
                                   Lewisburg, WV 24901
                                 Telephone: (304) 646-1182
                                Email: dteaney@appalmad.org
                                    Counsel for Petitioners
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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        •    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        •    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


            22-1008
        No. __________             Caption: __________________________________________________
                                            Sierra Club, et al. v. W. Va. Dept. of Envtl. Protection, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Sierra Club
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES   ✔   NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




        12/01/2019 SCC                                   -1-
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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Derek O. Teaney
        Signature: ____________________________________                     Date: ___________________
                                                                                       01/04/2022

                     Sierra Club
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

        •    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
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        •    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


            22-1008
        No. __________             Caption: __________________________________________________
                                            Sierra Club, et al. v. W. Va. Dept. of Envtl. Protection, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        West Virginia Rivers Coalition
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES   ✔   NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




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                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
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              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Derek O. Teaney
        Signature: ____________________________________                     Date: ___________________
                                                                                       01/04/2022

                     West Virginia Rivers Coalition
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

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        •    In criminal cases, the United States must file a disclosure statement if there was an
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        •    Any corporate amicus curiae must file a disclosure statement.
        •    Counsel has a continuing duty to update the disclosure statement.


            22-1008
        No. __________             Caption: __________________________________________________
                                            Sierra Club, et al. v. W. Va. Dept. of Envtl. Protection, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        West Virginia Highlands Conservancy
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES   ✔   NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




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                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




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              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




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              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Derek O. Teaney
        Signature: ____________________________________                     Date: ___________________
                                                                                       01/04/2022

                     W. Va. Highlands Conservancy
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

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            22-1008
        No. __________             Caption: __________________________________________________
                                            Sierra Club, et al. v. W. Va. Dept. of Envtl. Protection, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Indian Creek Watershed Association
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?        YES   ✔   NO


        2.      Does party/amicus have any parent corporations?                                   YES ✔ NO
                If yes, identify all parent corporations, including all generations of parent corporations:




        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
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              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Derek O. Teaney
        Signature: ____________________________________                     Date: ___________________
                                                                                       01/04/2022

                     Indian Creek Watershed Association
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

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            22-1008
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                                            Sierra Club, et al. v. W. Va. Dept. of Envtl. Protection, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Appalachian Voices
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
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              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Derek O. Teaney
        Signature: ____________________________________                     Date: ___________________
                                                                                       01/04/2022

                     Appalachian Voices
        Counsel for: __________________________________




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                          DISCLOSURE STATEMENT

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            22-1008
        No. __________             Caption: __________________________________________________
                                            Sierra Club, et al. v. W. Va. Dept. of Envtl. Protection, et al.

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        Chesapeake Climate Action Network
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          Petitioner          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


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        12/01/2019 SCC                                   -1-
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              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ Derek O. Teaney
        Signature: ____________________________________                     Date: ___________________
                                                                                       01/04/2022

                     Chesapeake Climate Action Network
        Counsel for: __________________________________




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                                        INTRODUCTION

              “West Virginia has long resisted the requirements of the Clean Water Act.”

        Ohio Valley Envtl. Coalition v. Pruitt, 893 F.3d 225, 227 (4th Cir. 2018). For

        example, rather than defend its flawed 2017 Clean Water Act (“CWA”) Section 401

        certification issued to Mountain Valley Pipeline, LLC (“MVP”), for the Mountain

        Valley Pipeline project (the “Pipeline”), West Virginia first obtained voluntary

        remand with vacatur, then waived its certification authority. To obtain remand, West

        Virginia confessed “that the information used to issue the Section 401 Certification

        needs to be further evaluated and possibly enhanced and that it needs to reconsider

        its antidegradation analysis[.]” Sierra Club v. U.S. Army Corps of Eng’rs (“Sierra

        Club I”), 909 F.3d 635, 641 (4th Cir. 2018) (cleaned up). On remand, West Virginia

        did not reconsider its antidegradation analysis per its commitment to this Court, but

        instead abdicated its CWA §401 responsibilities by waiving its authority to certify

        the relevant permits. Id.

              West Virginia’s resistance to the CWA’s requirements continues with the

        action at issue here: the December 30, 2021 CWA §401 certification (the

        “Certification”) of the individual CWA §404 permit that MVP seeks from the United

        States Army Corps of Engineers (“Corps”) for the Pipeline’s waterbody crossings.

        CERT_000001-12 (JA0001-12). The West Virginia Department of Environmental




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        Protection (“WVDEP”) has once more failed to ensure protection of West Virginia’s

        water quality standards, resulting in an arbitrary and capricious decision.


                  STATEMENT OF SUBJECT MATTER AND APPELLATE
                                 JURISDICTION

               On December 30, 2021, WVDEP issued a CWA §401 certification for the

        Pipeline. CERT_000001-12 (JA0001-12). On January 3, 2022, Petitioners filed a

        timely petition for review of the Certification. ECF #3.

              The Pipeline is subject to Section 7 of the Natural Gas Act (“NGA”), 15 U.S.C.

        §717f, and is being constructed in this Circuit. Sierra Club v. U.S. Army Corps of

        Eng’rs (“Sierra Club II”), 981 F.3d 251, 260 n.6 (4th Cir. 2020). The Certification

        is a state agency approval required under Federal law. 33 U.S.C. §1341 (AD006-08).

        Accordingly, this Court has jurisdiction under NGA Section 19(d)(1). 15 U.S.C.

        §717r(d)(1) (AD004).

               Petitioners have standing under Article III of the United States Constitution.

        For Article III standing, a petitioner must establish (1) injury-in-fact, (2) traceability,

        and (3) redressability. Am. Canoe Ass’n v. Murphy Farms, Inc., 326 F.3d 505, 517

        (4th Cir. 2003). An organization has representational standing when (1) at least one

        of its members would have standing in his own right, (2) the organization’s purpose

        is germane to the interests it seeks to protect, and (3) there is no need for direct

        participation by the individual members in the action. Id. To establish injury-in-fact



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        in the environmental context, a petitioner “need only show that he used the affected

        area, and that he is an individual for whom the aesthetic and recreational values of

        the area are lessened” by the challenged activity. Piney Run Pres. Ass’n v. Cty.

        Comm’rs of Carroll Cty., MD, 268 F.3d 255, 263 (4th Cir. 2002) (cleaned up).

              The addendum to this brief includes the Declarations of Thomas Bouldin,

        Suzanne Vance, Paula Mann, Herman Mann, Naomi Cohen, and Birch Graves.

        Those declarations from Petitioners’ members establish judicially cognizable harms

        to their aesthetic, recreational, and property interests threatened by the Pipeline.

              Bouldin lives in Summers County, West Virginia. Bouldin Decl., ¶1 (AD052).

        Hungard Creek forms the western boundary of his property. Id., ¶6 (AD053). MVP

        intends to construct thirteen open-cut, dry-ditch crossings in the Hungard Creek

        watershed. Id., ¶16 (AD054-5). Each of those crossings would be upstream of

        Bouldin’s property. Id. “The threat of those crossings being constructed has

        diminished [Bouldin’s] enjoyment of living along Hungard Creek, and if they are

        actually constructed, [his] enjoyment will be even further diminished.” Id.

              Vance owns a farm in Lewis County, West Virginia, along Oil Creek of Little

        Kanawha River. Vance Decl., ¶¶1, 4 (AD057). Second Big Run, a tributary of Oil

        Creek, originates just northeast of her property and flows onto and across her farm.

        Id., ¶4. MVP plans to construct two open-cut, dry-ditch crossings of Second Big

        Run’s tributaries a short distance from where the stream flows onto Vance’s property.



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        Id., ¶17 (AD060). Construction of those crossings threatens harm to Vance’s

        aesthetic enjoyment of the stream. Id., ¶19 (AD061).

              Paula and Herman Mann live in Monroe County, West Virginia. Paula Mann

        Decl., ¶1 (AD063); Herman Mann Decl., ¶1 (AD068). MVP plans to trench through

        Slate Run of Hans Creek, the Narrows of Hans Creek, and Indian Creek in Monroe

        County to construct the Pipeline. Paula Mann Decl., ¶¶10, 14, and 20 (AD064-66).

        The Manns’ farm lies along Slate Run, downstream of MVP’s proposed crossing.

        Id., ¶10 (AD064). Paula Mann’s enjoyment of photographing aquatic life in Slate

        Run has been diminished by the threat of impacts from the proposed upstream

        Pipeline crossing. Id., ¶¶11-12 (AD064-65). The Manns also frequently recreate

        along and enjoy the Narrows of Hans Creek and Indian Creek, but their concerns

        about Pipeline construction diminish their enjoyment of those streams. Paula Mann

        Decl., ¶¶13-24 (AD065-66); Herman Mann Decl., ¶¶9-15 (AD069-70). If the

        Pipeline is completed, the Manns plan to leave the farm on which Paula Mann has

        spent her entire life. Paula Mann Decl., ¶9 (AD064); Herman Mann Decl., ¶8

        (AD069).

              Cohen is a long-time Monroe County, West Virginia, resident. Cohen Decl.,

        ¶1 (AD071). Pipeline construction diminishes Cohen’s enjoyment of scenic drives

        in Monroe County, and threatens the water source she uses for drinking and cooking

        at her home. Id., ¶¶11-13 (AD073).



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              Graves has a lifelong connection to Indian Creek in Monroe County, West

        Virginia. Graves Decl., ¶¶1, 3 (AD075). Permitting MVP to construct its multiple

        planned crossings in the Indian Creek watershed would diminish Graves’s

        enjoyment of Indian Creek. Id., ¶¶6-7 (AD076).

              The above-described injuries are fairly traceable to the Certification. Without

        the Certification, MVP cannot trench through streams owned or used by Petitioners’

        members. Bouldin Decl., ¶24 (AD056); Vance Decl., ¶¶16-17 (AD060); Paula Mann

        Decl., ¶26 (AD066); Herman Mann Decl., ¶16 (AD070); Cohen Decl., ¶14 (AD073-

        74); Graves Decl., ¶8 (AD076). Moreover, judicial relief would redress those

        injuries. Bouldin Decl., ¶25 (AD056); Vance Decl., ¶25 (AD061); Paula Mann Decl.,

        ¶27 (AD066); Herman Mann Decl., ¶17 (AD070); Cohen Decl., ¶15 (AD074);

        Graves Decl., ¶9 (AD076); Lujan v. Defenders of Wildlife, 504 U.S. 555, 572 n.7

        (1992).

              Because their members have standing, Petitioners have organizational

        standing. Their members’ interests in protecting West Virginia’s waters and land are

        germane to their organizational purposes. See, e.g., Paula Mann Decl., ¶¶2-5

        (AD063-64); Cohen Decl., ¶2 (AD071); Graves Decl., ¶2 (AD075). Moreover, the

        members’ individual participation is unnecessary because this case seeks vacatur of

        agency action, not individualized relief. Accordingly, Petitioners have standing, and

        this Court has jurisdiction.



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                   STATEMENT OF ISSUES PRESENTED FOR REVIEW

        1.    Whether WVDEP’s Certification issuance was arbitrary and capricious

        because:

              a.    WVDEP’s internally contradictory explanation implausibly relied on

              an expectation of MVP’s future permit compliance to find a reasonable

              assurance that MVP’s waterbody crossings will not violate water quality

              standards, while simultaneously dismissing MVP’s similar past violations as

              unsurprising; and

              b.    WVDEP applied the wrong legal standard by focusing on the severity

              of MVP’s documented water quality standards violations, rather than their

              existence.

        2.    Whether WVDEP’s Certification issuance violated CWA §401(d) because

        WVDEP failed to include a Certification condition requiring MVP to comply with

        certain permits and plans after the agency determined that such compliance was

        necessary to ensure compliance with water quality standards.

        3.    Whether WVDEP’s Certification issuance ran counter to the record due to

        WVDEP’s erroneous determination that MVP’s stream-crossing plans are consistent

        with the agency’s Erosion and Sediment Control Best Management Practice Manual.

        4.    Whether WVDEP’s Certification issuance ran counter to the record due to

        WVDEP’s erroneous belief that the Environmental Protection Agency (“EPA”) had



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        endorsed stormwater BMPs to protect water quality standards during instream

        construction.

        5.    Whether WVDEP’s Certification issuance was arbitrary and capricious

        because WVDEP unreasonably and unlawfully relied on surrogate processes and

        demonstrably incorrect excuses to avoid performing required location-specific

        antidegradation reviews.


                                    STATEMENT OF THE CASE

                                         Nature of the Case

              Pursuant to NGA Section 19(d)(1), 15 U.S.C. §717r(d)(1) (AD004), this

        petition seeks review of WVDEP’s CWA §401 certification that discharges related

        to MVP’s proposed open-cut, dry-ditch crossings of hundreds of streams and

        wetlands in West Virginia will not violate water quality standards.


                                         Legal Framework

              Under CWA §401, federal permits—such as individual §404 permits issued

        by the Corps—require certification from affected states that permitted activities will

        comply with water quality standards. 33 U.S.C. §1341(a)(1) (AD006-07). Under

        EPA regulations, to issue §401 certifications states must conclude “that there is a

        reasonable assurance that the activity will be conducted in a manner which will not




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        violate applicable water quality standards.” 40 C.F.R. §121.2(a)(3) (2019)

        (AD010).1

              “Water quality standards are a critical component of the CWA regulatory

        scheme[.]” Natural Res. Defense Council v. U.S. E.P.A., 16 F.3d 1395, 1399 (4th

        Cir. 1993). EPA recognizes that “the CWA requires strict compliance with water

        quality standards,” i.e., they “are legally required to be met [at] all times.” 49 Fed.

        Reg. 37,998, 38,038 (Sept. 26, 1984).2 Water quality standards consists of:

              (1) one or more designated uses of the state waters involved; (2) certain
              water quality criteria, expressed as numeric pollutant concentration
              levels or narrative statements representing a quality of water that
              supports a particular designated use; and (3) an antidegradation policy
              to protect existing uses and high quality waters.

        Natural Res. Defense Council, 16 F.3d at 1400 (citing 33 U.S.C. §1313(c)(2)(A) and

        40 C.F.R. §131). The water quality standards at issue here include West Virginia’s

        narrative water quality criteria and antidegradation policy. W. Va. C.S.R. §§47-2-

        3.2, -4. (AD013, AD015-16); id. §60-5-1 et seq. (AD032-50).




        1 EPA’s reasonable interpretations of §401 warrant deference. PUD No. 1 of
          Jefferson Cty. v. Wash. Dep’t of Ecology, 511 U.S. 700, 712 (1994). The 2019
          regulation applies here because EPA’s 2020 §401 regulations have been vacated.
          In re Clean Water Act Rulemaking, ___ F.Supp.3d ___, 2021 WL 4924844 (N.D.
          Cal. Oct. 21, 2021); CERT_000002 (JA0002).
        2 Congress charged EPA with oversight of state water quality standards. 33 U.S.C.
          §1313.


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               West Virginia’s narrative water quality criteria prohibit discharges that cause

        or contribute to, inter alia:

               3.2.a. Distinctly visible floating or settleable solids, suspended solids,
               scum, foam or oily slicks;
               3.2.b. Deposits or sludge banks on the bottom;
               *****
               3.2.e. Materials in concentrations which are harmful, hazardous or
               toxic to man, animal or aquatic life;
               *****
               3.2.i. Any other condition … which adversely alters the integrity of the
               waters of the State, including wetlands; no significant adverse impact
               to the chemical, physical, hydrologic, or biological components of
               aquatic ecosystems shall be allowed.

        Id. §47-2-3.2.a-b, -3.2.e, & -3.2.i (AD013). 3 West Virginia describes those as

        “conditions not allowable.” Id. §47-2-3. Narrative water quality standards like West

        Virginia’s “conditions not allowable” are both essential and enforceable. Natural

        Res. Def. Council, 16 F.3d at 1405; see also PUD No. 1 of Jefferson County v. Wash.

        Dep’t of Ecology, 511 U.S. 700, 716 (1994) (explaining the CWA allows

        “enforcement of broad, narrative criteria”).

               West Virginia’s antidegradation policy is codified at W. Va. C.S.R. §47-2-4

        (AD015-16). It assigns three tiers of protection to West Virginia’s waters, depending



        3 Although one of West Virginia’s narrative water quality criteria incorporates a
          “significant adverse impact” requirement, eight others do not (W. Va. C.S.R.
          §47-2-3.2 (AD013))—including those MVP has repeatedly violated (infra, p. 16).
          The inclusion of language in one criterion, but its omission from the others,
          indicates “the omission was deliberate.” Jones v. C.I.R., 642 F.3d 459, 463 (4th
          Cir. 2011).


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        on their existing quality and national significance: Tier 1, Tier 2, and Tier 3. Id. §47-

        2-4.1. Existing uses must be maintained in Tier 1 waters; the existing high-quality

        of Tier 2 waters must be protected absent socio-economic justification through an

        alternatives analysis; and the degradation of outstanding national resource waters in

        Tier 3 streams is prohibited. Id.

              West Virginia’s antidegradation implementation procedures are codified at

        W. Va. C.S.R. §60-5-1 et seq. (AD032-50). An antidegradation review requires

        WVDEP to determine (1) the existing uses of waterbodies associated with the

        proposed activity, (2) the baseline water quality for those waterbodies, and (3) the

        protection “tier” applicable to the waterbodies. W. Va. C.S.R. §60-5-3.3 to -3.5

        (AD035-36).

              Moreover, like the North Carolina program addressed in Mountain Valley

        Pipeline, LLC v. North Carolina Department of Environmental Quality, 990 F.3d

        818 (4th Cir. 2021), West Virginia’s CWA §401 program requires an alternatives

        analysis to avoid and minimize impacts. W. Va. C.S.R. §47-5A-4.2 (AD021). To

        implement that regulation, WVDEP’s §401 certification application requires

        submission of a “No Practical Alternative Demonstration.” APP_000013 (JA0091).

        WVDEP’s instructions require applicants to

              [s]ubmit a conclusive demonstration to justify the proposed activity
              (ies). If more than one activity is involved in the project (fills,
              culverting, stream relocations, etc.), justify the need for each activity
              by providing the following:

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                • Show that other alternatives were considered and why they were
                  eliminated.

                • Show that the activity will impact Waters of the U.S. no more than
                  is necessary to accommodate its proper construction and operations.

        W. Va. Dep’t of Envtl. Protection, Water Quality State 401 Certification Application

        Instructions at 3 (“Application Instructions”) (emphasis added) (AD080). States

        have broad authority to impose requirements in CWA permit applications, and this

        Court gives them meaning and effect. Southern Appalachian Mountain Stewards v.

        A&G Coal Corp., 758 F.3d 560, 564, 566-69 (4th Cir. 2014).


                                         Statement of Facts

                        MVP’s Initial Efforts to Permit Waterbody Crossings

              MVP proposes to build a 42-inch-diameter Pipeline through West Virginia

        and Virginia. Sierra Club II, 981 F.3d at 255. Although WVDEP touts Pipeline

        construction as (in its view) “substantially complete,” a significant number of stream

        and wetland crossings remain to be completed—including hundreds in West

        Virginia. CERT_000003 (JA0003). Indeed, the 197-mile Pipeline route in West

        Virginia remains perforated in 193 locations by incomplete waterbody crossings. Id.;

        Table 15 (Crossing Method Determination Summary, Individual Permit Application,

        Mountain Valley Pipeline Project) at 1-22 (“Table 15”) (JA1470-91).




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              Pipeline waterbody crossings can be constructed in one of two ways: either

        by trenching through the waterbody using an open-cut crossing (which requires a

        CWA §404 permit), or by boring under the waterbody using a trenchless crossing

        (which generally does not). REL_001046 (JA1282). MVP initially intended to use

        open-cut, dry-ditch methods to construct the Pipeline through the waterbodies in its

        path, rather than using trenchless methods. REL_000147-49 (JA1283-85). Open-cut,

        dry-ditch crossing methods require dewatering the streambed. REL_000147-48

        (JA1283-84). After dry working conditions are established, MVP would excavate a

        trench through the streambed at least 4.5 feet wide and 9 (or more) feet deep.

        REL_000142 (JA1278). Some stream crossings would require in-stream blasting,

        which could “injure or kill aquatic organisms during blast-hole drilling operations,

        and temporarily increase stream turbidity.” REL_000422 (JA1295). After placing

        the Pipeline in the trench, MVP would backfill the trench, attempt to restore the

        streambed, and allow normal streamflow to resume. REL_000147-48 (JA1283-84).

        The removal of crossing-construction infrastructure leads to increased downstream

        sedimentation. See, e.g., CERT_000065 (JA0024).

              Because open-cut, dry-ditch crossings “involve the discharge of fill material

        into federal waters, the CWA requires MVP to obtain approval from [the Corps]

        before beginning construction.” Sierra Club II, 981 F.3d at 256. MVP initially

        attempted to satisfy that requirement by obtaining authorization to discharge fill



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        material under Nationwide Permit (“NWP”) 12. See generally Sierra Club I, 909

        F.3d at 639-43. MVP obtained Corps verifications that its stream-crossing activities

        were authorized by NWP 12 in late 2017. Id. at 641. But this Court vacated those

        verifications in late 2018, holding that MVP could not satisfy certain NWP 12

        conditions in West Virginia and observing that “an individual permit [under §404]

        will likely be necessary.” Id. at 655.

              One condition MVP could not satisfy was the requirement that large-diameter

        pipelines possess an individual §401 certification. Id. at 651-54. WVDEP had issued

        MVP a §401 certification in March 2017, but sought voluntary remand with vacatur

        of that action after it was challenged in this Court. Id. at 641. WVDEP represented

        to this Court that “‘the information used to issue the Section 401 Certification needs

        to be further evaluated and possibly enhanced’ and that it ‘needs to reconsider its

        antidegradation analysis in the Section 401 Certification.’” Id. (quoting Sierra Club

        v. W. Va. Dep’t of Envtl. Prot., No. 17-1714, ECF #42 (4th Cir. Sept. 13, 2017)).

              On remand, rather than reevaluating the information on which it based its

        action or reconsidering its antidegradation analysis, WVDEP waived its authority to

        certify MVP’s NWP 12 verification. Id. As a result, MVP could not satisfy West

        Virginia’s NWP 12 condition requiring individual §401 certification. Id.

              To publicly justify its waiver, WVDEP relied on its belief that it could

        effectively regulate the Pipeline through its Oil and Gas Construction



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        Stormwater Permit (“Stormwater Permit”). See Secretary Caperton’s Letter to

        WVDEP Staff Regarding the Mountain Valley Pipeline (Nov. 13, 2017), available

        at    https://dep.wv.gov/news/Pages/Secretary-Caperton%27s-Letter-to-WVDEP-

        Staff-Regarding-the-Mountain-Valley-Pipeline.aspx. WVDEP authorized MVP to

        discharge construction stormwater under that state-law permit in July 2017.

        REL_002155-56 (JA2120-21). But WVDEP subsequently documented almost 140

        violations of the Stormwater Permit by MVP, demonstrating that WVDEP’s reliance

        on that permit was misplaced.


                  MVP’s Documented Water Quality Standards and Permit Violations

              While its NWP 12 verifications were in effect, “MVP completed open-cut

        crossings of approximately 23 streams and nine wetlands in West Virginia.”

        CERT_000009 (JA0009). WVDEP inspectors found “several … violations … at the

        stream crossings where MVP conducted work.” Id.

              Based on those violations, and Stormwater Permit violations that MVP

        committed in its upland work before the Federal Energy Regulatory Commission

        (“FERC”) stopped all Pipeline construction in October 2019, WVDEP brought two

        administrative enforcement actions against MVP, resulting in two Consent Orders.

        See, e.g., COMM_000518 (JA1059); see also W. Va. Dep’t of Envtl. Protection,

        Consent Order No. 8951, Issued to Mountain Valley Pipeline, LLC (Apr. 19, 2019)

        (“2019 Consent Order”), available at https://elibrary.ferc.gov/eLibrary/filelist?


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        accession_number=20220310-5170; W. Va. Dep’t of Envtl. Protection, Consent

        Order No. 9925, Issued to Mountain Valley Pipeline, LLC (Dec. 17, 2020) (“2020

        Consent Order”), available at https://elibrary.ferc.gov/eLibrary/filelist?accession_

        number=20220310-5171.4

              In both Consent Orders, WVDEP found two types of violations. First,

        WVDEP found that MVP violated provisions of the Stormwater Permit. See 2019

        Consent Order at 1-11; 2020 Consent Order at 1-13. For example:

              On September 11, 2018, WVDEP personnel conducted an inspection
              of the facility. During the inspection, a violation of the following
              section of the permit was observed and documented:
                 a. Section G.4.e.2.A.ii.j – MVP failed to prevent sediment-laden
                    water from leaving the site without going through an appropriate
                    device at Station 900 where concentrated flow over-topped
                    installed perimeter controls.

        2019 Consent Order, Finding of Fact 15.

              Second, WVDEP expressly found that MVP caused violations of the water

        quality standards codified in the West Virginia Legislative Rules at W. Va. C.S.R.




        4 WVDEP did not include its Consent Orders in the administrative record for this
          petition for review, despite having dismissed the violations reflected in them as
          unsurprising and insignificant in the Certification. See Section I, infra. Petitioners
          request that the Court take judicial notice of the two Consent Orders. See Sierra
          Club v. U.S. Dep’t of the Interior, 899 F.3d 260, 276 n.4 (4th Cir. 2018) (taking
          judicial notice of official agency actions); Int’l Bhd. of Teamsters, Chauffeurs,
          Warehousemen & Helpers of Am. v. Zantop Air Transp. Corp., 394 F.2d 36, 40
          (6th Cir. 1968) (compiling cases recognizing appropriateness of taking judicial
          notice of administrative orders).


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        §47-2-3.2 (AD013). WVDEP identified water quality standards violations with

        reference to the specific legislative rule and narrative water quality standard at issue,

        and denoted multiple violations discovered on the same inspection in the same

        subparagraph. For example:

              On August 1 and 6, 2018, WVDEP personnel conducted an inspection
              of the facility. During the inspection, violations of the following
              sections of WV Legislative Rules … were observed and documented:
                 *****
                 e. 47CSR2 Section 3.2.a – MVP caused conditions not allowable in
                    waters of the State by creating distinctly visible settleable solids
                    in the following three (3) locations: the Right Fork of Big Elk
                    Creek …, Goose Run …, and the [Unnamed Tributary] of Goose
                    Run ….
                 f. 47CSR2 Section 3.2.b – MVP caused conditions not allowable
                    in waters of the State by allowing sediment deposits in the
                    following three (3) locations: the UNT of Goose Run …, Seal
                    Run …, and Grass Run ….

        2019 Consent Order, Finding of Fact 9.

              In the 2019 Consent Order, WVDEP assessed a $265,972 civil penalty against

        MVP for 64 permit violations and 37 narrative water quality standards violations. Id.

        at 1-11. In the 2020 Consent Order, WVDEP assessed a $303,706 civil penalty

        against MVP for 75 permit violations and at least nine narrative water quality

        standards violations. 2020 Consent Order at 1-14.


                    MVP’s Most Recent Efforts to Permit Waterbody Crossings

              In September, 2020, after WVDEP and the Corps attempted to change the

        NWP 12 conditions that rendered MVP ineligible for that permit, the Corps once


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        again issued verifications of MVP’s authorization to construct stream crossings

        under NWP 12. See generally Sierra Club II, 981 F.3d at 254-63. This Court stayed

        MVP’s reissued NWP 12 verifications on November 9, 2020. Order, Sierra Club v.

        U.S. Army Corps of Eng’rs, No. 20-2039(L), ECF #50 (4th Cir. Nov. 9, 2020).

              In response to the November 9, 2020 stay, MVP for the first time began

        seriously considering more widespread use of trenchless crossing methods, which

        generally do not require §404 authorization. “[T]renchless methods are the least

        destructive approach for pipeline crossings of waterbodies absent special site-

        specific conditions.” Starr Silvis, M.S., P.E., Review of Mountain Valley Pipeline,

        LLC’s Application for an Individual Section 404 Permit from the U.S. Army Corps

        of Engineers 1 (May 27, 2021) (JA0914); see also W. Va. Dep’t of Envtl. Protection,

        Division of Water & Waste Management, Erosion and Sediment Control Best

        Management Practice Manual 3.21-2 (2006, rev. Aug. 29, 2016) (“BMP Manual”)

        (AD120) (prescribing trenchless methods as “the least destructive and preferred

        method” for utility-line stream crossings).

              Just nine days after this Court stayed MVP’s 2020 NWP 12 authorizations,

        MVP asked FERC to amend its NGA Certificate of Public Convenience and

        Necessity to allow MVP to use trenchless technologies to bore under every

        waterbody along the first 77 miles of its route. See generally Abbreviated

        Application of Mountain Valley Pipeline, LLC for Limited Amendment to



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        Certificate of Public Convenience and Necessity and Request for Expedited Action

        (“November 2020 FERC Application”) (JA0976-92). Specifically, MVP proposed

        to bore under 69 waterbodies at 41 locations. Id. at 1 (JA0976). MVP sought this

        change to try to complete the first 77 miles of the Pipeline and begin interim service

        to an interconnection with another interstate natural gas pipeline at Milepost 77.6.

        Id. MVP identified this Court’s November 9, 2020 stay as the reason for its proposal.

        Mountain Valley Pipeline, Supplemental Environmental Report for Proposed

        Conventional Bore Waterbody and Wetland Crossings from Mileposts 0 to 77 at 1-

        1 (Nov. 2020) (“November 2020 Supp. Envtl. Rpt.”) (JA0997).

              Specifically, MVP proposed using a “conventional bore,” November 2020

        Supp. Envtl. Rpt. at 1-2 (JA0998), sometimes referred to as “boring and jacking” or

        “jack and bore.” Compare BMP Manual 3.21-2 (AD120), with Mountain Valley

        Pipeline, LLC, Waterbody Crossing Review at 4 (Apr. 2016) (“Waterbody Crossing

        Review”) (JA0961). Using that method, MVP would dig “bore pits” on each side of

        the waterbody, from which it would bore a tunnel and install the Pipeline under the

        waterbody. November 2020 Supp. Envtl. Rpt. at 1-3 (JA0999). MVP admitted the

        technique would reduce adverse impacts on waterbodies. November 2020 FERC

        Application at 11 (JA0986).

              MVP certified to FERC that “[t]he crossing lengths, bore geometry, terrain,

        and bore pit logistics for the crossings at issue in this [application] are well suited



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        for conventional bores.” November 2020 Supp. Envtl. Rpt. at 1-2 (JA0998). MVP

        also certified to FERC that bore failures at these crossings were “unlikely.”

        November 2020 FERC Application at 7 (JA0982).

              On December 1, 2020—before FERC acted on MVP’s November 2020

        application to bore under the waterbodies along the first 77 miles of the Pipeline—

        this Court published a per curiam opinion explaining why it stayed MVP’s 2020

        NWP 12 authorizations. Sierra Club II, 981 F.3d at 254-65. Thereafter, MVP altered

        its plans once more. The company decided to seek an individual CWA §404 permit

        from the Corps to construct open-cut crossings at the majority of its waterbody

        crossings, and to submit yet another certificate amendment to FERC seeking to bore

        under yet another set of streams and wetlands. REL_000931-33 (JA1321-23).

        MVP’s new plan entailed asking the Corps to revoke the 2020 NWP 12 verifications

        and withdrawing the November 2020 FERC Application. Id.

              Notably, when MVP submitted its new trenchless-crossing application to

        FERC on February 19, 2021, it no longer sought to bore under every waterbody

        along the first 77-miles of the route. Indeed, the February 2021 application only

        sought to implement three of the 41 trenchless crossings proposed in the November

        2020 FERC Application. Compare November 2020 Supp. Envtl. Rpt., tbl. A-1

        (JA1019-20) with Mountain Valley Pipeline, Supplemental Environmental Report




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        for Proposed Certificate Amendment for Avoidance of Waters of the United States,

        tbl. A-1 (Feb. 2021) (JA1326-28).

              Contemporaneously with its February 2021 applications to the Corps and

        FERC, MVP applied to WVDEP for a CWA §401 certification for its individual

        CWA §404 permit. APP_000001-47 (JA0079-125). In that application, MVP

        abruptly changed its position on trenchless crossing feasibility along the first 77

        miles of the route, now certifying to WVDEP that trenchless crossings are

        impracticable for 38 of the 41 crossings it had previously certified to FERC were

        “well-suited” for conventional bores. Table 15 at 1-5 (JA1470-74).

              WVDEP solicited public comment on MVP’s §401 certification application.

        CERT_000003       (JA0003).     Petitioners   submitted   voluminous     comments.

        COMM_000090-266            (JA0737-913);      COMM_000404-424          (JA1021-41);

        COMM_000715-37 (JA1073-95). Among the issues Petitioners raised were (1) that

        MVP’s history of water quality standards violations precluded WVDEP from finding

        that MVP will not violate water quality standards going forward, 5 and (2) that,

        because of MVP’s long history of conflicting statements about the feasibility of




        5 COMM_000154-56,        COMM_000205-06 (JA0801-03, JA0852-53);
          COMM_000420-21 (JA1037-38); COMM_000715-18, COMM_000722-36
          (JA1073-76, JA1080-94).


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        trenchless crossings, MVP has no credibility on its assertions that its proposed open-

        cut crossings are the least environmentally damaging practicable alternative.6

              On December 30, 2021, WVDEP granted the Certification to MVP,

        determining that “there is a reasonable assurance that the activity will be conducted

        in a manner which does not violate water quality standards.” CERT_000002

        (JA0002). WVDEP’s determination rests heavily on its erroneous belief that MVP

        will comply with WVDEP’s BMP Manual, which prescribes best management

        practices (“BMPs”) for instream construction. BMP Manual, §3.21 (AD119-45).

        Two requirements of the BMP Manual’s Instream BMPs are relevant here: (1) the

        Construction Criteria specify that boring under a stream is the “least damaging and

        preferred method,” and (2) the General Design Criteria require that the drainage area

        upstream from a crossing “be no greater than one square mile.” Id. at 3.21-3, -4

        (AD121, AD122).

              Although WVDEP included 31 conditions in the Certification, WVDEP did

        not make MVP’s compliance with the Stormwater Permit a Certification condition,

        despite WVDEP’s reliance on compliance with that permit to protect water quality.

        Compare CERT_000014-19 (JA014-19) with CERT_000213 (JA0056).




        6 COMM_000104-16    (JA0751-63);              COMM_000421-23            (JA1037-38);
          COMM_000736 (JA1094).


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                              SUMMARY OF THE ARGUMENT

              WVDEP unsuccessfully tried to disguise its Certification to resemble

        Virginia’s judicially-approved §401 certification of MVP’s upland activities at issue

        in Sierra Club v. State Water Control Board (“SWCB”), 898 F.3d 383 (4th Cir. 2018).

        Compare, e.g., CERT_000213 (JA0056) (“Without information demonstrating

        otherwise the WVDEP relies on compliance with the requirements of the

        [Stormwater Permit] to control discharges from construction activities as necessary

        to meet the applicable water quality standards and antidegradation requirements.”),

        with SWCB, 898 F.3d at 398 (“‘In the absence of information demonstrating

        otherwise, compliance with the requirements under the [AS&S] Program will result

        in stormwater discharges being controlled as necessary to meet applicable water

        quality standards and antidegradation requirements.’” (modification in SWCB;

        quoting Virginia’s administrative record)). But this case is not SWCB, legally or

        factually.


           • In SWCB, because MVP was a new company and had not yet begun pipeline

              construction, Virginia’s agencies were writing on a blank slate and the

              exercise was “inherently predictive.” SWCB, 898 F.3d at 397. Here, WVDEP

              claimed to be reasonably assured of water quality standards protection against

              a backdrop of MVP’s widespread water quality standards violations. See

              generally 2019 Consent Order; 2020 Consent Order.

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           • In SWCB, the §401 certification required MVP to comply with the BMPs on

              which Virginia’s agencies relied to ensure compliance with Virginia’s water

              quality standards. SWCB, 898 F.3d at 396. Here, WVDEP unlawfully failed

              to include such conditions in the Certification, rendering them potentially

              unenforceable. CERT_000014-19 (JA0014-19).

           • In SWCB, there was no allegation that MVP’s construction plans were

              inconsistent with the BMPs on which Virginia relied to ensure compliance

              with water quality standards. SWCB, 898 F.3d at 404. Here, MVP’s plans are

              demonstrably inconsistent with WVDEP’s BMP Manual. BMP Manual,

              §3.21 (AD119-45).

           • In SWCB, the conditions of the EPA stormwater permit on which Virginia

              relied were analogous to the upland stormwater BMPs Virginia imposed.

              SWCB, 898 F.3d at 404. Here, the instream construction techniques at issue

              are not regulated by the EPA stormwater permit. REL_002069, REL002072-

              75 (JA2107, JA2108-11).

           • In SWCB, the Court found Virginia’s surrogates for location-specific

              antidegradation review to be reasonable and consistent with Virginia law.

              SWCB, 898 F.3d at 404-05. Here, WVDEP’s surrogates for such review were

              unreasonable and inconsistent with West Virginia law. See, e.g., W. Va. C.S.R.

              §47-2-4.1.b, §60-5-1.5.b, §60-5-1.5.d (AD015, AD032).


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              Because of the foregoing, SWCB does not control the result here. Whether

        WVDEP’s December 30, 2021 Certification was arbitrary and capricious should be

        assessed on the specific legal questions and factual context presented. For the

        following reasons, WVDEP’s action was arbitrary, capricious, and otherwise not in

        accordance with law, and this Court should vacate the Certification. 5 U.S.C.

        §706(2)(A).


              1.      WVDEP’s finding, pursuant to 40 C.F.R. §121.2(a)(3) (2019) (AD010),

        “that there is a reasonable assurance that the activity will be conducted in a manner

        which will not violate applicable water quality standards” was arbitrary and

        capricious because it was entirely implausible, internally inconsistent, and applied

        the wrong legal standard. WVDEP “relie[d] on compliance with the requirements of

        the [Stormwater Permit] to control discharges from construction activities as

        necessary to meet the applicable water quality standards.” CERT_000213 (JA0056).

        But WVDEP did so despite its own findings that MVP had violated the Stormwater

        Permit 139 times and committed dozens of water quality standards violations. 2019

        Consent Order at 1-11; 2020 Consent Order at 1-13. In response to MVP’s violation

        history, WVDEP nonchalantly stated that, given the project’s nature, it “does not

        regard the number of violations its inspectors issued as surprising.” CERT_000226

        (JA0069). Because WVDEP simultaneously expects both (1) MVP will violate the

        Stormwater Permit and water quality standards and (2) MVP’s compliance with the


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        Stormwater Permit’s requirements will assure compliance with water quality

        standards, its contradictory explanation of its reasonable assurance finding is

        implausible. Defs. of Wildlife v. U.S. Dep’t of Interior, 931 F.3d 339, 365 (4th Cir.

        2019); ANR Storage Co. v. FERC, 904 F.3d 1020, 1028 (D.C. Cir. 2018).

              Moreover, WVDEP arbitrarily and capriciously applied the incorrect legal

        standard to MVP’s violation history. Wild Virginia v. U.S. Forest Serv., 24 F.4th 915,

        931 (4th Cir. 2022). WVDEP dismissed MVP’s water quality standards violations

        as “minor” because “none alleged any significant adverse impacts to the aquatic

        ecosystems[.]” CERT_000009, CERT_000226 (JA0009, JA0069). But “the CWA

        requires strict compliance with water quality standards,” i.e., they “are legally

        required to be met [at] all times.” 49 Fed. Reg. at 38,038. Accordingly, WVDEP

        applied the wrong legal standard by focusing on the severity of MVP’s water quality

        standards violations, rather than their existence, when making its reasonable

        assurance finding.


              2.     Where a “state concludes that conditions on the operation of the project

        are necessary to ensure compliance with its water quality standards, those conditions

        must be set out in the §401 certification.” N.C. Dep’t of Envtl. Quality v. FERC,

        3 F.4th 655, 661 (4th Cir. 2021). Here, WVDEP concluded that “MVP must comply

        with the [Stormwater Permit], implement the proposed [Stormwater Pollution

        Prevention Plan (“SWPPP”)], and comply with Certification conditions to control


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        potential sediment discharges from the Project to ensure appropriate protection of

        aquatic resources, water quality, and prevent degradation of State waters.”

        CERT_000231 (JA0074) (emphasis added). Yet WVDEP failed to make

        Stormwater      Permit     and     SWPPP    compliance     a   Certification   condition.

        CERT_000014-19 (JA0014-19). That failure violates §401(d). N.C. Dep’t of Envtl.

        Quality, 3 F.4th at 661.


              3.     WVDEP’s reliance on its unsupported determination that MVP’s

        stream-crossing    plans     are    “consistent   with   WVDEP’s        BMP    Manual,”

        CERT_000007, CERT_000223 (JA0007, JA0066), is arbitrary and capricious

        because it runs counter to the record. Sierra Club v. U.S. Forest Serv., 897 F.3d 582,

        594 (4th Cir. 2018). MVP’s proposed crossing methods fail to meet the BMP

        Manual’s requirements in two important ways. First, MVP’s plans are inconsistent

        with the BMP Manual’s preference for less-damaging trenchless crossing methods,

        BMP Manual at 3.21-2, -4 (AD120, AD122), and WVDEP’s acquiescence to MVP’s

        claims that such methods are impracticable at most of its crossings was arbitrary and

        capricious. WVDEP entirely failed to address MVP’s prior sworn statements that 38

        locations where it now claims trenchless crossings are impracticable were, in fact,

        “well suited” for such methods. Friends of Buckingham v. State Air Pollution

        Control Bd., 947 F.3d 68, 87-90 (4th Cir. 2020); U.S. Forest Serv., 897 F.3d at 594.

        Second, MVP’s plans are inconsistent with the BMP Manual’s limit on drainage-


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        area size above open-cut crossings to one square mile or less. BMP Manual at 3.21-

        3 (AD121). WVDEP did not evaluate the drainage areas of MVP’s proposed open-

        cut crossings. Had it done so, it would have discovered numerous crossings proposed

        at locations where upstream drainage areas exceed one mile. See Table 1, infra.


              4.     WVDEP’s mistaken belief that EPA’s construction stormwater permit

        supports a finding that BMPs used during instream construction will protect water

        quality standards runs counter to the record. U.S. Forest Serv., 897 F.3d at 594. The

        EPA permit on which WVDEP relies applies to management of stormwater runoff

        during construction on land. REL_002069 (JA2107). It does not—and cannot—

        regulate the instream §404 discharges at issue here. Coeur Alaska, Inc. v. Southeast

        Alaska Conservation Council, 557 U.S. 261, 273-74 (2009). Accordingly,

        WVDEP’s reliance on EPA’s permit was arbitrary and capricious.


              5.     WVDEP’s        refusal   to    conduct   the   required   location-specific

        antidegradation review was arbitrary and capricious. W. Va. C.S.R. §60-5-5.6.c

        (AD040); Ohio Valley Envtl. Coalition v. Horinko, 279 F.Supp.2d 732, 761-62 (S.D.

        W. Va. 2003). Some of WVDEP’s excuses for its failure to perform that review—

        its reliance on the Stormwater Permit and BMP Manual—are arbitrary and

        capricious for the reasons described above.




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              Other excuses offered by WVDEP conflict with West Virginia’s

        antidegradation program. First, West Virginia’s antidegradation program allows the

        use of BMPs as a surrogate for antidegradation review of nonpoint sources, W. Va.

        C.S.R. §60-5-1.5.b (AD032), but more—including location-specific review—is

        required for §404 point-source discharges like those at issue here. Id. §47-2-4.1.b

        (AD015); §60-5-3.8 (AD036). Second, WVDEP misconstrues W. Va. C.S.R. §60-

        5-1.5.d (AD032) to allow it to substitute other regulatory processes for a substantive

        antidegradation review, instead of merely relying on those reviews and processes to

        provide information necessary for antidegradation review. Id. Finally, WVDEP

        asserted (1) that antidegradation review of §404 discharges is not required, (2) that

        baseline data would not be valuable, and (3) that predictions of sedimentation from

        open-cut stream crossings cannot be made, or are not valuable. Those three excuses

        are contrary to the law and the evidence.


                                            ARGUMENT

                                         Standard of Review

              In proceedings reviewing §401 certifications under NGA Section 19(d)(1), 15

        U.S.C. §717r(d)(1) (AD004), this Court applies the Administrative Procedure Act’s

        standard of review. SWCB, 898 F.3d at 403. Under that statute, the Court must set

        aside agency action that is “arbitrary, capricious, an abuse of discretion, or otherwise

        not in accordance with law.” 5 U.S.C. §706(2)(A).


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              To survive arbitrary and capricious review in NGA Section 19(d)(1)

        proceedings, a state agency must articulate “a satisfactory explanation for its action

        including a rational connection between the facts found and the choice made.”

        Friends of Buckingham, 947 F.3d at 83. Reasoned decisionmaking requires agencies

        to avoid implausible explanations, Defs. of Wildlife, 931 F.3d at 365, to avoid

        internally inconsistent explanations, ANR Storage, 904 F.3d at 1028, and to apply

        correct legal standards, Wild Virginia, 24 F.4th at 931; U.S. Forest Serv., 897 F.3d

        at 604-05. An agency cannot rest its determination even partially on an infirm ground.

        Williams Gas Processing-Gulf Coast Co., L.P. v. FERC, 475 F.3d 319, 329-30 (D.C.

        Cir. 2006). Agency actions are also arbitrary and capricious when they run counter

        to the record, fail to address important aspects of the problem, or fail to resolve

        evidentiary conflicts, U.S. Forest Serv., 897 F.3d at 594; Friends of Buckingham,

        947 F.3d at 87-90. And an agency action that violates or misapplies an applicable

        statute or regulation is not in accordance with law. Sierra Club I, 909 F.3d at 655.


                                      Discussion of the Issues

              WVDEP’s issuance of the Certification was arbitrary, capricious, and

        otherwise not in accordance with law because of the agency’s (1) disregard of

        MVP’s history of noncompliance, (2) failure to include required Certification

        conditions, (3) erroneous determination of consistency between MVP’s stream-

        crossing plans and WVDEP’s BMP Manual, (4) erroneous belief that EPA had


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        endorsed stormwater BMPs to protect water quality standards during instream

        construction, and (5) refusal to conduct location-specific antidegradation reviews.


        I.    WVDEP ARBITRARILY AND CAPRICIOUSLY DISREGARDED ITS
              OWN FINDINGS THAT MVP REPEATEDLY VIOLATED THE
              STORMWATER PERMIT AND WATER QUALITY STANDARDS.

              EPA’s regulations require that, to issue a §401 certification, a state must find

        “that there is a reasonable assurance that the activity will be conducted in a manner

        which will not violate applicable water quality standards.” 40 C.F.R. §121.2(a)(3)

        (2019) (AD010). Although WVDEP made the requisite finding here, its explanation

        for that determination was arbitrary and capricious because it was entirely

        implausible, internally inconsistent, and applied the wrong legal standard.


              A.     WVDEP’s Reasoning Is Implausible And Internally Inconsistent.

              WVDEP claims to be reasonably assured that instream pipeline construction

        “will be conducted in a manner which does not violate water quality standards”

        because, “[w]ithout information demonstrating otherwise[,] the WVDEP relies on

        compliance with the requirements of the [Stormwater Permit] to control discharges

        from construction activities as necessary to meet the applicable water quality




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        standards[.]” CERT_000002; CERT_000213 (JA0002; JA0056). The problem for

        WVDEP is that it has documented abundant “information demonstrating otherwise.”

              In two administrative enforcement actions, WVDEP expressly found that

        MVP repeatedly violated the Stormwater Permit, leading to nearly 50 water quality

        standards violations. 2019 Consent Order at 1-11; 2020 Consent Order at 1-13.

        Indeed, WVDEP concedes in the Certification that its inspectors found “several …

        violations … at the stream crossings where MVP conducted work.” CERT_000009

        (JA0009). In response to comments that MVP’s noncompliance history

        “demonstrates that discharges from the Project will not comply with water quality

        standards,” WVDEP nonchalantly explained that, given the project’s nature, it “does

        not regard the number of violations its inspectors issued as surprising.”

        CERT_000226 (JA0069). Stated otherwise, despite its express reliance on an

        expectation of compliance to support its reasonable assurance determination,

        WVDEP simultaneously held an expectation of widespread noncompliance.

              WVDEP’s explanation is impermissibly implausible. Defs. of Wildlife, 931

        F.3d at 365. The record establishes that WVDEP assumes both (1) MVP will violate

        the Stormwater Permit and water quality standards and (2) MVP’s compliance with

        the Stormwater Permit’s requirements will assure compliance with water quality

        standards. Simultaneously holding those two views is not reasoned agency

        decisionmaking. See Mayor of Baltimore v. Azar, 973 F.3d 258, 276 (4th Cir. 2020)



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        (holding agency “cannot simply state it ‘believes’ something to be true—against the

        weight of all the evidence before it”). WVDEP defies logic when it says in one breath

        that MVP’s compliance with the Stormwater Permit will prevent water quality

        standards violations and in the next that MVP’s violations of the Stormwater Permit

        and water quality standards are unsurprising. That internal inconsistency alone

        justifies vacatur of the Certification. ANR Storage, 904 F.3d at 1028; see also Nat’l

        Parks Conservation Ass’n v. E.P.A., 788 F.3d 1134, 1141 (9th Cir. 2015) (“[A]n

        internally inconsistent analysis is arbitrary and capricious.”).

              WVDEP’s reliance on Stormwater Permit compliance to protect water quality

        standards, in the face of contrary real-world experience, is analogous to the Forest

        Service’s reliance on predictive models to the exclusion of real-world data that this

        Court found arbitrary and capricious in Wild Virginia, 24 F.4th at 928. WVDEP’s

        antidegradation procedures recognize that an applicant’s “historic noncompliance

        with its permit” constitutes a “circumstance[] warrant[ing] … review[.]” W. Va.

        C.S.R. §60-5-5.6.a.2 (AD039). And, in the face of such a history, it is arbitrary and

        capricious for an agency to predict compliance without rational explanation. Animal

        Legal Def. Fund v. Perdue, 872 F.3d 602, 620 (D.C. Cir. 2017). In Perdue, the

        agency renewed a license based on the applicant’s certification of compliance with




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        applicable regulations, notwithstanding the agency’s knowledge of repeated

        violations of those regulations. Id. at 619-20.

              As in Perdue, the question here is the “agency’s ability to demonstrate that it

        engaged in reasoned decisionmaking.” 872 F.3d at 619. And like the agency in

        Perdue, WVDEP fails that test: It implausibly purported to be assured that MVP’s

        activities would not cause water quality standards violations, CERT_000002

        (JA0002), against a backdrop of its own findings that MVP’s activities had caused

        dozens of such violations and that such violations are to be expected. 2019 Consent

        Order at 1-11; 2020 Consent Order at 1-13; CERT_000226 (JA0069). Consequently,

        WVDEP’s issuance of the Certification was arbitrary and capricious.

              WVDEP’s documentation of widespread permit and water quality standards

        violations distinguishes this case from this Court’s decision in SWCB upholding

        MVP’s Virginia upland §401 certification. At the time Virginia issued that

        certification, it was operating on a blank slate: MVP was a new company that had

        yet to engage in any pipeline construction. Virginia’s finding of reasonable

        assurance was thus “inherently predictive.” SWCB, 898 F.3d at 404. Here, MVP has

        a documented history of violating both the Stormwater Permit and West Virginia’s

        water quality standards. 2019 Consent Order at 1-11; 2020 Consent Order at 1-13.

        Thus, unlike the agencies in SWCB, WVDEP was under a heightened duty to explain

        its determination that MVP’s construction would not violate water quality standards



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        despite the fact that it has already done so many times on this project. See Perdue,

        872 F.3d at 619-20.


              B.     WVDEP Arbitrarily And Capriciously Applied The Wrong Legal
                     Standard.

              Numerous commenters brought MVP’s documented water quality standards

        violations to WVDEP’s attention. See e.g., CERT_000226 (JA0069) (“WVDEP

        received many comments arguing that WVDEP cannot grant §401 certification

        because MVP’s compliance history demonstrates that discharges from the Project

        will not comply with water quality standards[.]”); COMM_000716-18 (JA1074-76).

        But WVDEP disregarded the violations because, it its view, the violations were

        tolerable because “none alleged any significant adverse impacts to the aquatic

        ecosystem.” CERT_000226 (JA0069).

              But that is not the relevant measure. Agency action is arbitrary and capricious

        if the agency applies an incorrect legal standard. Wild Virginia, 24 F.4th at 931; U.S.

        Forest Serv., 897 F.3d at 604-05. Here, WVDEP applied the incorrect legal standard

        by focusing not on whether MVP will violate water quality standards, but on the

        severity of such violations.

              The applicable regulation does not include an exception allowing water

        quality standards violations that do not cause “significant adverse impacts to the

        aquatic ecosystem.” Rather, WVDEP had to be reasonably assured—without



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        qualification—that stream-crossing construction “will be conducted in a manner

        which will not violate applicable water quality standards.” 40 C.F.R. §121.2(a)(3)

        (2019) (AD010) (emphasis added). Id. By excusing repeated, but in its view

        insignificant, water quality standards violations, WVDEP attempts to rewrite the

        regulation.

               EPA—the agency charged with CWA-implementation—states that “the

        CWA requires strict compliance with water quality standards,” i.e., they “are legally

        required to be met [at] all times.” 49 Fed. Reg. at 38,038, cited with approval in

        Sierra Club v. Union Oil Co., 813 F.2d 1480, 1489 (9th Cir. 1987), judgment vacated,

        485 U.S. 931 (1988), judgment reinstated, 853 F.2d 667, 672 (9th Cir. 1988). Here,

        WVDEP violated those principles. A determination that only minor or insignificant

        (in WVDEP’s view) water quality standards violations will occur cannot suffice

        under the applicable regulation, leaving WVDEP’s Certification arbitrary and

        capricious for failure to apply the proper legal standard. Wild Virginia, 24 F.4th at

        931.

               Time and again, this Court has recognized that “the CWA creates a regime of

        strict liability for violations of its standards.” See, e.g., Am. Canoe Ass’n v. Murphy

        Farms, 412 F.3d 536, 540 (4th Cir. 2005) (citing Stoddard v. W. Carolina Reg’l

        Sewer Auth., 784 F.2d 1200, 1208 (4th Cir. 1986)). Nothing in SWCB—the Virginia

        upland §401 certification case—implicitly overrules that line of cases or otherwise



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        condones “minor” violations of water quality standards. The “minor, short-term

        issues” and “momentary exceedances” this Court discussed in SWCB were not water

        quality standards violations. SWCB, 898 F.3d at 405. Rather, they were

        “exceedances of pre-construction sedimentation levels”—i.e., baseline conditions.

        Id. at 407-08. Importantly, in SWCB, this Court determined that such temporary

        exceedances of baseline conditions were not violations of the antidegradation water

        quality standard. Id. at 405. Nothing in SWCB blesses actual water quality standards

        violations (minor or otherwise), or overrules this Court’s prior holdings that the

        CWA is a strict liability statute. See McMellon v. United States, 387 F.3d 329, 332-

        33 (4th Cir. 2004) (one panel opinion cannot overrule another; the earlier of

        conflicting opinions controls).


        II.   WVDEP UNLAWFULLY FAILED TO INCLUDE REQUIRED
              CONDITIONS IN THE CERTIFICATION.

              CWA §401(d) provides that certifications “shall set forth any … limitations[]

        and monitoring requirements necessary to assure” that the applicant will comply

        with certain CWA provisions and “appropriate requirement[s] of State law.”

        33 U.S.C. §1341(d) (AD008). The Supreme Court has recognized that state water

        quality standards are among the CWA provisions contemplated by §401(d). PUD

        No. 1, 511 U.S. at 712-13. And EPA’s regulations require §401 certifications to

        include “[a] statement of any conditions which the certifying agency deems



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        necessary … with respect to the discharge of the activity[.]” 40 C.F.R. §121.2(a)(4)

        (2019) (AD010).

              Interpreting §401(d), this Court recently explained that, “[i]f the state

        concludes that conditions on the operation of the project are necessary to ensure

        compliance with its water quality standards, those conditions must be set out in the

        §401 certification.” N.C. Dep’t of Envtl. Quality, 3 F.4th at 661 (emphasis added);

        accord Lake Carriers’ Ass’n v. E.P.A., 652 F.3d 1, 3 (D.C. Cir. 2011). Thus, when

        a state determines that an applicant must perform some act to ensure compliance

        with water quality standards, the §401 certification must include a condition

        requiring that act.

              Here, WVDEP determined that “MVP must comply with the [Stormwater

        Permit], implement the proposed SWPPP, and comply with Certification conditions

        to control potential sediment discharges from the Project to ensure appropriate

        protection of aquatic resources, water quality and prevent degradation of State

        waters.” CERT_000231 (JA0074) (emphasis added); see also CERT_000006,

        CERT_000010,            CERT_000212-14,      CERT_000217-20,        CERT_000223,

        CERT_000230-32 (JA0006, JA0010, JA0055-57, JA0060-63, JA0066, JA0073-75).

        Nonetheless, WVDEP failed to make compliance with the Stormwater Permit or

        SWPPP a condition of the Certification. CERT_000014-19 (JA0014-19).




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              For that reason, WVDEP’s issuance of the certification was not in accordance

        with law and must be vacated. 5 U.S.C. §706(2)(a). In WVDEP’s view, compliance

        with the Stormwater Permit and the SWPPP is necessary to ensure compliance with

        water quality standards. Accordingly, WVDEP was required to include Certificate

        conditions requiring Stormwater Permit and SWPPP compliance. N.C. Dep’t of

        Envtl. Quality, 3 F.4th at 661; 33 U.S.C. §1341(d) (AD008); 40 C.F.R. §121.2(a)(4)

        (2019) (AD010). Because WVDEP did not do so, the Certification must be vacated.

        Sierra Club I, 909 F.3d at 655.

              WVDEP’s failure to condition the Certification on Stormwater Permit and

        SWPPP compliance further distinguishes this case from SWCB. In SWCB, this Court

        upheld Virginia’s reliance on compliance with BMPs to support a reasonable

        assurance determination. 898 F.3d at 396-97. But, in that case, Virginia had

        specifically conditioned its §401 certification on compliance with the standards and

        practices that it had determined assured compliance with water quality standards. Id.;

        see also Sierra Club v. State Water Control Bd., No, 17-2406, ECF #3-2, Condition

        13 (4th Cir. Dec. 8, 2017).

              WVDEP’s failure to condition the Certification in a similar way constitutes

        prejudicial error because the NGA preempts application of purely state-law

        requirements. See Schneidewind v. ANR Pipeline Co., 485 U.S. 293, 300-01 (1988);

        Atl. Coast Pipeline, LLC v. Nelson County Bd. of Supervisors, 443 F.Supp.3d 670,



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        683 (W.D. Va. 2020). MVP has a history of using preemption to attack state-law

        restrictions it does not like. See Mountain Valley Pipeline, LLC v. Wender, 337

        F.Supp.3d 656, 666 (S.D. W. Va. 2018). Any state-law requirement not enshrined

        as a §401 certification condition is thus potentially vulnerable to a preemption

        challenge. Islander E. Pipeline Co., LLC v. McCarthy, 525 F.3d 141, 143-44 (2d Cir.

        2008) (explaining that, unlike other state laws, the NGA does not preempt

        requirements imposed through a CWA §401 certification). The Stormwater Permit

        and the SWPPP are creatures of state law. CERT_000005 (JA0005); W. Va. Dep’t

        of Envtl. Prot., Responsiveness Summary, WV Permit No. WV0116815,

        Registration Application No. WVR310667, Mountain Valley Pipeline, LLC at 7

        (Nov. 1, 2017) (“Responsiveness Summary”) (JA1643). Because WVDEP failed to

        mandate compliance with the state-law requirements of the Stormwater Permit and

        SWPPP as Certification conditions, its reliance on those requirements was

        unfounded in a manner not present in SWCB and in contravention of the

        requirements of §401(d) recognized by this Court in N.C. Dep’t of Envtl. Quality,

        3 F.4th at 661.


        III.   WVDEP’S CONCLUSION THAT MVP’S STREAM-CROSSING
               PLANS ARE CONSISTENT WITH THE AGENCY’S BMP MANUAL
               IS ARBITRARY AND CAPRICIOUS.

               WVDEP rested the Certification squarely on its belief that MVP would use

        “appropriate BMPs” “consistent with WVDEP’s BMP Manual.” Id. CERT_000007,


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        CERT_000223 (JA0007, JA0066). But where an agency “rest[s] its determination,

        at least in part, on [an] infirm … ground,” the court must set the action “aside as

        arbitrary and capricious.” Williams Gas Processing-Gulf Coast Co., 475 F.3d at 329-

        30. Because MVP’s construction plans are not consistent with the BMP Manual in

        two important respects, WVDEP’s decision rests on “infirm … ground” and is

        therefore arbitrary and capricious. Id.

              WVDEP’s BMP Manual is intended to aid compliance with West Virginia’s

        narrative water quality criteria prohibiting visible solids or sediment deposits by

        “provid[ing] standardized and comprehensive erosion and sediment control

        management practices.” BMP Manual at 1-1, 1-3 (AD091, AD093). To deviate from

        the BMP Manual’s prescriptions, a party must seek and obtain WVDEP approval.

        Id. at 2.3-2.4 (AD100-01).

              The first discussion of the BMP Manual in WVDEP’s most recent §401

        proceedings is in an October 5, 2021 MVP submission to WVDEP responding to

        public comments on its §401 certification application. COMM_000758 (JA1096).

        In that document, MVP asserted that its “in-stream BMPs … are consistent with

        WVDEP’s BMP Manual[.]” COMM_000778 (JA1116). Notably, MVP did not

        seek—and WVDEP did not approve—any deviations from the BMP Manual’s

        requirements. See generally COMM_000758-90 (JA1096-128).




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              In the Certification, WVDEP echoed (twice) MVP’s contention that its

        stream-crossing plans are consistent with the BMP Manual, without explanation.

        CERT_000007, CERT_000223 (JA0007, JA0066). But MVP’s proposed crossing

        methods fail to meet the BMP Manual’s requirements in two important ways: 7 (1)

        MVP rejects the BMP Manual’s preference for less-damaging trenchless crossings

        without credibly establishing the impracticability of such crossings, and (2) MVP

        intends to trench through streams with drainage areas greater than one square-mile.

        Because WVDEP’s determination that MVP’s plans are consistent with the BMP

        Manual runs counter to the record, the Certification is arbitrary and capricious. U.S.

        Forest Serv., 897 F.3d at 594.


              A.     MVP’s Crossing Methods Are Inconsistent With The BMP Manual
                     Because MVP Intends To Use Open-Cut Crossings Without
                     Credibly Establishing The Impracticability Of Trenchless Methods.

              The BMP Manual specifies trenchless methods as the least damaging and

        preferred alternative for Instream BMPs. BMP Manual at 3.21-2, -4 (AD120,

        AD122). Because the majority of MVP’s proposed crossings are not trenchless

        crossings, its plans are inconsistent with the requirements of the BMP Manual. That




        7 This is yet another way this case is different from SWCB. In that case, the
          petitioners did not allege MVP’s construction would be inconsistent with the
          “tried and true” BMPs on which Virginia relied, but rather simply claimed those
          measures would be inadequate. See SWCB, 898 F.3d at 404.


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        alone renders the Certification arbitrary and capricious because WVDEP’s

        explanation runs counter to the record. U.S. Forest Serv., 897 F.3d at 594.

              Moreover, the Manual requires WVDEP approval of deviations from its

        prescriptions. BMP Manual at 2.3-2.4 (AD100-01). As discussed above, MVP

        represented that its in-stream construction methods were consistent with the BMP

        Manual and did not seek approval to deviate from the manual’s specification for

        trenchless crossings. COMM_000778 (JA1116). Even if the Certification itself were

        construed as an approval of deviation from the BMP Manual, WVDEP would remain

        obligated to articulate “a satisfactory explanation for its action including a rational

        connection between the facts found and the choice made.” Friends of Buckingham,

        947 F.3d at 83. Here, that would have required WVDEP to evaluate MVP’s

        application on a crossing-by-crossing basis to determine the practicality of trenchless

        crossings, given the requirements of WVDEP’s §401 certification rule and

        application instructions. W. Va. C.S.R. §47-5A-4.2 (AD021); Application

        Instructions at 3 (AD080). That did not happen.

              MVP submitted an alternatives analysis in its application, but rejected

        trenchless methods for most crossings. APP_000013 (JA0091); Table 15 (JA1470-

        518). During the public comment period, Petitioners informed WVDEP of MVP’s

        history of inconsistent representations about the feasibility of various stream




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        crossing methods. COMM_000104-16 (JA0751-63).                      Nonetheless, WVDEP

        ignored MVP’s inconsistencies and, in the Certification, conclusorily asserted that

        MVP’s alternatives analysis was “reasonable” and sufficiently demonstrated that

        “trenchless crossings were impracticable,” resulting in the selection of “the least

        environmentally damaging alternative.” CERT_000212-14 (JA0055-57). But those

        unexplained conclusions are not supported by the record.

              WVDEP’s blind acceptance of MVP’s alternatives analysis was unreasonable

        because MVP lacks credibility about whether trenchless technologies are practicable

        at any particular location. Over the years, MVP has rejected as impracticable many

        trenchless crossings that it now proposes to construct; and has previously proposed

        trenchless crossings for locations that it now rejects.

              For example, MVP told FERC in 2016 that trenching under three rivers at

        issue in Sierra Club I—the Elk, Gauley and Greenbrier Rivers—“pose[s] a risk of

        failure that is likely insurmountable.” Waterbody Crossing Review at 8-10 (JA0965-

        67). In its current plans, however, MVP appears to have surmounted the

        “insurmountable” and now admits that those trenchless crossings are practicable.

        CERT_000011 (JA0011). Moreover, in November 2020, MVP told FERC that 38




        8 Consequently, the crossing-method issue was squarely before WVDEP. Azar,
          973 F.3d at 290.


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        crossings in West Virginia were “well suited for conventional bores” 9 only to

        abandon that plan and tell WVDEP just three months later that conventional bores

        at those very crossings are impracticable.10

              In short, MVP has a demonstrated history of saying whatever it needs to say

        about alternative crossing methods to gain approval of its preferred methods.

        WVDEP therefore had a heightened obligation to verify MVP’s assertions about

        crossing-method feasibility and could not simply accept MVP’s assertions. See Colo.

        Fire Sprinkler, Inc. v. N.L.R.B., 891 F.3d 1031, 1041 (D.C. Cir. 2018) (vacating

        agency decision because of its reliance on untrustworthy information). Although an

        agency may “base its analysis ‘entirely upon information supplied by the applicant,’”

        Crutchfield v. County of Hanover, VA, 325 F.3d 211, 223 (4th Cir. 2003) (emphasis

        added; quoting Friends of the Earth v. Hintz, 800 F.2d 822, 834-36 (9th Cir. 1986)),

        it “nonetheless ha[s] an obligation to independently verify the information supplied

        to it.” Hintz, 800 F.2d at 835.

              Yet, WVDEP did not even flinch at MVP’s abrupt about-face. Petitioners

        have not found any place in the record where WVDEP confronts MVP’s prior


        9 Nov. 2020 Supp. Envtl. Rpt. at 1-2, tbl. A-1 (JA0998, JA1019-20).
        10 Table 15 at 1-5 (JA1470-74) (rejecting trenchless crossings as impracticable for
           38 of the 41 proposed trenchless crossings in Appendix A of the Nov. 2020 Supp.
           Envtl. Rpt.). MVP certified the accuracy of both the November 2020
           representation to FERC and the February 2021 contradictory representation to
           WVDEP. See 18 C.F.R. §157.6(a)(4)(i); APP_000014 (JA0092).


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        inconsistent statements. Where the Certification purports to address MVP’s

        crossing-method determination, it invariably recites MVP’s submissions before

        transitioning directly to WVDEP’s bare conclusions. CERT_000212-14 (JA_0055-

        57). Unlike Hintz, where the Ninth Circuit was satisfied the agency had

        “exhaustively studied” the applicant’s information, 800 F.2d at 835, here there is no

        evidence of study, exhaustive or otherwise. Rather, WVDEP’s decision exhibits the

        sort of “blind acceptance” that a court cannot condone. Id. at 836. The Certification

        is therefore arbitrary and capricious because WVDEP either entirely failed to

        address an important aspect of the problem, U.S. Forest Serv., 897 F.3d at 594, or

        resolve an evidentiary conflict before it, Friends of Buckingham, 947 F.3d at 87-90.

        It also violated WVDEP’s obligation to respond to significant comments, W. Va.

        C.S.R. §47-5A-5.1.e (AD026), rendering the Certification arbitrary and capricious.

        State of S.C. ex rel. Tindal v. Block, 717 F.2d 874, 886 (4th Cir. 1983).


              B.     MVP’s Crossing Plans Are Inconsistent With The BMP Manual
                     Because MVP Intends To Trench Through Streams With Large
                     Drainage Areas.

              Even if MVP’s open-cut crossings were otherwise permissible, they would

        still run afoul of the BMP Manual’s requirements. One of the BMP Manual’s

        General Design Criteria for Instream BMPs provides that “[t]he drainage area [above

        the crossing location] should be no greater than one square mile[.]” BMP Manual at

        3.21-3 (AD121). But here, WVDEP entirely failed to evaluate the drainage areas of


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        MVP’s crossings. Consequently, WVDEP failed to consider an important aspect of

        the problem before concluding that MVP’s plans are consistent with the BMP

        Manual. Had it evaluated the drainage areas, it would have recognized that many of

        MVP’s proposed open-cut crossings are at locations where upstream drainage areas

        exceed one square mile. Accordingly, the Certification is arbitrary and capricious.

        U.S. Forest Serv., 897 F.3d at 604-05.

              WVDEP has an online tool available to calculate the drainage area upstream

        of the crossing locations. Responsiveness Summary at 65 (JA1701). Applying that

        tool to a small sample of MVP’s stream crossings reveals at least nine instances

        where the upstream drainage area exceeds one square mile:11

        Table 1
         Stream Crossing           Latitude           Longitude            Drainage Area
         Hungard Creek             37.692868          -80.734247           11.433 mi2
         Buffalo Creek             37.863065          -80.757391           3.688 mi2
         Hominy Creek              38.178889          -80.72979            48.193 mi2
         Lost Run                  38.483002          -80.556464           2.781 mi2
         Right Fork Holly Creek    38.648021          -80.489704           56.589 mi2
         Falls Run                 38.778955          -80.525862           8.025 mi2
         Knawl Creek               38.823595          -80.525342           3.777 mi2
         Left Fork Knawl Creek     38.824034          -80.524988           2.640 mi2
         Oil Creek                 38.893014          -80.556192           7.208 mi2


        11 Table 1 is based on Exhibit 23 to Petitioners’ stay motion (ECF #27-24), which
           consists of screenshots of the results generated by inputting the coordinates of
           certain crossings into WVDEP’s online drainage area tool. Petitioners request
           that the Court take judicial notice of the results of the application of WVDEP’s
           tool to the streams in Table 1 because “geographical information is especially
           appropriate for judicial notice.” United States v. Johnson, 726 F.2d 1018, 1021
           (4th Cir. 1984); see also Hoyt v. Russell, 117 U.S. 401, 404-05 (1886) (holding

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              Nonetheless, WVDEP did not even attempt to determine the upstream

        drainage areas before concluding that MVP’s proposed crossings were consistent

        with the BMP Manual and its restriction on drainage area size. As a result, the

        Certification is arbitrary and capricious. U.S. Forest Serv., 897 F.3d at 594, 604-05.


        IV.   WVDEP’S BELIEF THAT EPA ENDORSES BMPS DURING
              INSTREAM CONSTRUCTION TO PROTECT WATER QUALITY
              STANDARDS RUNS COUNTER TO THE RECORD.

              WVDEP’s mistaken belief that EPA endorses construction stormwater BMPs

        as a method to ensure water-quality compliance during instream construction was

        another significant factor in its Certification issuance. WVDEP turned to EPA

        “first”—and repeatedly—to support its belief that MVP’s crossing methods would

        protect water quality standards. CERT_000004, CERT_000007, CERT_000011,

        CERT_000213, CERT_000218, CERT_000220-25 (JA0004, JA0007, JA0011,

        JA0056, JA0061, JA0063-68). WVDEP’s explanations run counter to the record,

        however, because (1) EPA never determined that BMPs, including those proposed

        by MVP, control discharges sufficiently during instream construction to protect




           judicial notice appropriate even where “calculations and inquiries on the subject
           [are] necessary”).


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        water quality standards, and (2) EPA has concerns that MVP’s plans will cause or

        contribute to water quality standards violations. COMM_000706 (JA1067).12

              EPA’s Construction General Permit cited by WVDEP applies to construction

        on land. See, e.g., REL_002069 (JA2107). It does not authorize discharges from

        instream construction. REL_002072-75 (JA2108-11). EPA’s Construction General

        Permit is an exercise of EPA’s CWA §402 authority. REL_002061 (JA2102). CWA

        §402 establishes a permitting program for the discharge of pollutants that are not

        dredged or fill material. 33 U.S.C. §1342(a)(1). CWA §402(p) requires regulation

        of certain stormwater discharges—i.e., overland runoff that picks up pollutants and

        is conveyed to a waterbody 13 —under that program. Id. §1342(p). Stormwater

        discharges from land disturbed by construction activities require a §402 permit.

        40 C.F.R. §122.26(b)(15)(i). EPA’s Construction General Permit—and state

        equivalents—satisfy that requirement.

              Instream construction, however, results in discharges of dredged or fill

        material, and is therefore regulated by the Corps under CWA §404. 33 U.S.C. §1344;

        see also CERT_000001 (JA0001). The Supreme Court has held “that if the Corps

        has authority to issue a permit for a discharge under §404, then the EPA lacks


        12 This is another difference from SWCB because, in that case, there was no
           contention that Virginia’s explanation of its reliance on EPA ran counter to the
           record. 898 F.3d at 404.
        13 See, e.g., https://www.epa.gov/npdes/npdes-stormwater-program.


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        authority to do so under §402.” Coeur Alaska, 557 U.S. at 273-74. Upland

        construction requiring a §402 permit for stormwater discharges may occur in

        conjunction with §404 instream construction, but that does not give EPA §402

        authority over instream construction.

              That EPA’s Construction General Permit cannot directly regulate discharges

        of dredged or fill material does not mean that EPA does not play a role in permitting

        §404 activities. Coeur Alaska, 557 U.S. 274. EPA has significant oversight of Corps

        §404 permitting. Id. (citing 33 U.S.C. §1344(b)-(c)). Indeed, on this project, EPA

        recommended the Corps not issue MVP’s sought permit because it “may not comply

        with the [§404(b)(1)] Guidelines,” including the requirement that the Corps approve

        only the least environmentally damaging practicable alternative and the prohibitions

        against significant degradation. COMM_000704, COMM_000706 (JA1065,

        JA1067). Indeed, EPA—having reviewed MVP’s stream-crossing plans—expressed

        concern that the project could “cause or contribute to water quality standards

        exceedances.” COMM_000706 (JA1067).

              In short, EPA did not—and could not—regulate instream construction

        through its Construction General Permit. Accordingly, it did not conclude that the

        permit’s BMPs would protect water quality standards during instream construction.

        Moreover, on this very project EPA specifically expressed concerns that instream

        construction could result in water quality standards violations. COMM_000706



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        (JA1067). WVDEP’s reliance on EPA’s Construction General Permit as a basis for

        its determination that the Pipeline’s waterbody crossings will comply with water

        quality standards was thus arbitrary and capricious.


        V.    WVDEP ARBITRARILY AND CAPRICIOUSLY REFUSED TO
              CONDUCT    LOCATION-SPECIFIC  ANTIDEGRADATION
              REVIEWS.

              As WVDEP concedes, the State’s antidegradation policy serves to prevent the

        lowering of water quality and “generally contemplates the collection of baseline

        water quality data” and predictions of the impacts of discharges on those baselines.

        CERT_000213, CERT_000221 (JA0056, JA0064); W. Va. C.S.R. §60-5-3.4, -4.7, -

        5.6.c, -6.1 (AD035, AD037, AD040, AD043). For example, antidegradation review

        of high-quality Tier 2 waters requires a location-specific review of baseline

        conditions and a determination of the additional pollution that would result from

        proposed activities, in order to assess and protect the “assimilative capacity” of those

        waters beyond the bare minimum needed to meet water quality criteria. W. Va.

        C.S.R. §60-5-5.6.c (AD040); Horinko, 279 F.Supp.2d at 761-62 (holding that West

        Virginia’s antidegradation review must be “location-specific”). WVDEP

        unreasonably and unlawfully refused to conduct that review, however,

        notwithstanding MVP’s submission of at least some baseline data late in the process.

        CERT_000219 (JA0062). WVDEP offers multiple excuses for not performing the

        required location-specific antidegradation reviews, each of which fails.


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              A.     WVDEP Impermissibly Relied On Surrogates For Location-
                     Specific Antidegradation Review.

              Some of WVDEP’s excuses for not complying with its antidegradation

        procedures suffer from the same fatal defects described above. For example,

        ignoring EPA’s warning that MVP’s proposed crossings may lead to significant

        degradation (COMM_000703-04 (JA1064-65)), WVDEP refused to conduct

        location-specific antidegradation review based on its belief “that the application of

        [its Stormwater Permit and BMP Manual] programs to MVP’s [stream crossings]

        will prevent any significant degradation of water quality or water uses,”

        (CERT_000006 (JA0006)). But, as explained above, WVDEP’s reliance on the

        Stormwater Permit and BMP Manual was arbitrary and capricious and

        distinguishable from the permit and BMP reliance upheld in SWCB, 898 F.3d at 396-

        97, 404-05. See Sections I-III, supra.

              Other excuses offered by WVDEP fail for reasons specific to the West

        Virginia program, and hence this Court’s Virginia-specific conclusions in SWCB are

        not controlling. First, when properly construed, West Virginia’s program allows

        reliance on BMPs to suffice for antidegradation review of nonpoint sources,14 but




        14 “Nonpoint source pollution is caused by rainfall or snowmelt moving over and
           through the ground and carrying natural and human-made pollutants into lakes,
           rivers, streams, wetlands, estuaries, other coastal waters, and ground water.” 68
           Fed. Reg. 60,653, 60,655 (Oct. 23, 2003).


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        not for the point-source activities at issue here.15 Second, WVDEP misconstrues its

        antidegradation program when it contends that other processes, such as state and

        federal stormwater permitting programs, can obviate the need to follow West

        Virginia antidegradation review procedures.


                     1.     West Virginia’s Antidegradation Program Does Not
                            Authorize Reliance On BMPs For Point Sources.

              As part of its attempt to make its antidegradation analysis resemble the

        analysis this Court upheld in SWCB, WVDEP relies on BMPs to insist that location-

        specific antidegradation review is not necessary. CERT_000226 (JA0069) (citing

        SWCB, 898 F.3d at 405). WVDEP asserts that such review is unnecessary in the

        absence of significant degradation, CERT_000217 (JA0060), and contends that,

        under its antidegradation rule, “the proposed Project impacts were not deemed to be

        significant since appropriate [BMPs] are to be utilized ensuring protection from

        sediment entering waters.” CERT_000008 (JA0008).

              Even if WVDEP’s reliance on BMPs were not arbitrary and capricious for the

        reasons explained above, it would run afoul of specific provisions of West Virginia’s

        antidegradation program. Specifically, W. Va. C.S.R. §60-5-1.5.b provides:

              Nonpoint source activities will be deemed to be in compliance with
              antidegradation requirements with the installation and maintenance of

        15 “The Clean Water Act section 404 permitting program addresses the discharge
           of dredged or fill material from a point source into ‘waters of the United States[.]’”
           86 Fed. Reg. 69,372, 69,376 (Dec. 7, 2021).


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              cost-effective and reasonable best management practices in accordance
              with [W. Va. C.S.R. §47-2-4.1.b]. These include, but are not limited
              to … programs for oil and gas operations administered by the Office of
              Oil and Gas of the Department of Environmental Protection[.]

        (AD032) (emphasis added). In turn, W. Va. C.S.R. §47-2-4.1.b—part of West

        Virginia’s antidegradation policy—provides:

              [T]he secretary shall assure that all new and existing point sources shall
              achieve the highest established statutory and regulatory requirements
              applicable to them and shall assure the achievement of cost-effective
              and reasonable best management practices (BMPs) for non-point
              source control.

        (AD015) (emphasis added).

              Under those provisions, although the use of BMPs can suffice to satisfy

        antidegradation requirements for nonpoint sources (W. Va. C.S.R. §60-5-1.5.b

        (AD032)), more is required for point sources like those at issue here (W. Va. C.S.R.

        §47-2-4.1.b (AD015)). Point sources “shall achieve the highest established statutory

        and regulatory requirements applicable to them” (id.); BMPs will not suffice for

        antidegradation purposes. 16 The specific allowance for reliance on BMPs for

        nonpoint sources for antidegradation purposes in §60-5-1.5.b must be construed as

        a disallowance of such reliance for point sources. Feathers v. W. Va. Bd. of Med.,




        16 Statutory and regulatory requirements applicable to §404 point source discharges
           include, inter alia, the Section 404(b)(1) guidelines (40 C.F.R. Part 230), and
           W. Va. C.S.R. §60-5-3.8 (AD036), which contemplates location-specific
           antidegradation review for activities regulated by individual §404 permits.


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        562 S.E.2d 488, 494 (W. Va. 2001) (applying canons of statutory interpretation to

        West Virginia legislative rules); Syll. Pt. 3, Manchin v. Dunfee, 327 S.E.2d 710, 711

        (W. Va. 1984) (“In the interpretation of statutory provisions the familiar maxim

        expression unius est exclusion alterius, the express mention of one thing implies the

        exclusion of another, applies.”). Consequently, WVDEP’s attempt to rely on BMPs

        to excuse MVP from location-specific antidegradation review violates West

        Virginia’s antidegradation implementation regulations and must be vacated. Sierra

        Club I, 909 F.3d at 655.


              2.     WVDEP Cannot Rely On Other Environmental Processes To
                     Satisfy Substantive Antidegradation Requirements.

              WVDEP also erroneously maintains that it can rely on other regulatory

        processes to obviate the need for location-specific antidegradation review. In support,

        WVDEP cites W. Va. C.S.R. §60-5-1.5.d, which provides: “Information contained

        within existing environmental processes and reviews, such as environmental

        assessments, environmental impact statements, facilities plans, and findings of no

        significant impact, may be used to provide part or all of the requirements of the

        antidegradation procedure and review.” (AD032) (emphasis added).

              Under the plain language of §60-5-1.5.d, WVDEP may look to other

        environmental reviews, including National Environmental Policy Act (“NEPA”)

        documents like environmental impact statements, environmental assessments, or



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        findings of no significant impact statements, to obtain information—i.e., data—to

        satisfy the information requirements of the antidegradation rules—like the baseline

        data requirements of W. Va. C.S.R. §60-5-3.4 (AD035). But §60-5-1.5.d does not

        allow WVDEP to substitute a different regulatory process for the required substance

        of an antidegradation review, as it attempts to do here.

              WVDEP asserts that, pursuant to §60-5-1.5.d, it “relies on” its Stormwater

        Permit “to make the necessary demonstration of compliance” with antidegradation

        requirements. CERT_000222 (JA0065). WVDEP similarly points to §60.5-1.5.d to

        justify its reliance on EPA’s Construction General Permit. CERT_000221 (JA0064).

        It is clear from WVDEP’s references to §60-5-1.5.d throughout the Certification that

        it misconstrues that provision to allow it to substitute unrelated processes for the

        antidegradation review itself, as opposed to merely relying on those processes to

        provide the information necessary to conduct such a review. CERT_000004,

        CERT_000007,         CERT_000221-22      (JA0004,    JA0007,    JA0064-65).    That

        misinterpretation renders the Certification not in accordance with law. Sierra Club

        I, 909 F.3d at 655

              Moreover, the processes on which WVDEP purports to rely—the Stormwater

        Permit and EPA’s Construction General Permit—cannot substitute for location-

        specific antidegradation reviews. As discussed above, WVDEP cannot rely on its

        Stormwater Permit to protect water quality given (1) MVP’s history of



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        noncompliance with that permit, and (2) WVDEP’s failure to require compliance

        with the Stormwater Permit as a Certification condition. See Sections I-II, supra.

              Nor can WVDEP rely on EPA’s statement in its construction stormwater

        permit that “compliance with the [Construction General Permit] generally will be

        sufficient to satisfy … antidegradation requirements” to avoid location-specific

        antidegradation review here. REL_002109-10 (JA2113-14). Critically, EPA never

        concluded that instream BMPs are adequate to prevent a lowering of water quality

        such that Tier 2 review is unnecessary. See Section IV, supra. And EPA

        acknowledges that, even in the stormwater context, other available information may

        rebut its general presumption and necessitate full antidegradation review.

        REL_002110 (JA2114). Here, other available information—namely MVP’s

        aforementioned history of violating the Stormwater Permit and West Virginia’s

        water quality standards—indicates that location-specific antidegradation review of

        the capacity of the streams at issue to withstand additional sedimentation is

        warranted. Indeed, West Virginia’s antidegradation procedures provide that “a

        regulated facility’s historic noncompliance with its permit” is an “individual

        circumstance[] warrant[ing] a full [Tier 2 antidegradation] review.” W. Va. C.S.R.

        §60-5-5.6.a.2 (AD039). Consequently, EPA’s general statement in its Construction

        General Permit cannot rationally explain WVDEP’s refusal to follow its

        antidegradation procedures. Friends of Buckingham, 947 F.3d at 83.



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              B.     Location-Specific Antidegradation Review Of §404 Discharges Is
                     Required, Possible, And Valuable.

              WVDEP’s remaining excuses for avoiding antidegradation review are also

        arbitrary and capricious. In addition to improperly relying on surrogate processes,

        WVDEP also rejected individualized review because (1) “that type of analysis is not

        prescribed or appropriate for … discharges of ‘dredged or fill’ material,” (2) baseline

        data “would not provide the information necessary to evaluate” impacts of future

        discharges, and (3) “there is no required or readily performable method for

        predicting the effect of … filling activities” on the streams at issue. CERT_000221

        (JA0064). WVDEP views compliance with antidegradation requirements as

        “complex” (id.), but as a federal district court has warned about WVDEP’s

        antidegradation program before, an agency cannot evade its obligations for the sake

        of convenience. Horinko, 279 F.Supp.2d at 748.

              WVDEP’s final excuses are contrary to law and contradicted by evidence.

        Sierra Club I, 909 F.3d at 655; U.S. Forest Serv., 897 F.3d at 594. First, EPA has

        determined that “States … must apply antidegradation requirements to … any

        activity that requires a permit or water quality certification … such as … CWA §404

        dredge and fill permits[.]” 63 Fed. Reg. 36,742, 36,780 (July 7, 1998). And

        WVDEP’s antidegradation rule authorizes location-specific antidegradation review

        for projects that require individual §404 permits from the Corps for dredged or fill

        material discharges. W. Va. C.S.R. §60-5-3.8 (AD036). Consequently, WVDEP’s

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        assertion that location-specific antidegradation review is not “prescribed or

        appropriate” for CWA §404 projects (CERT_000211 (JA0054)) is wrong as a matter

        of law.

              Second, contrary to WVDEP’s contention that baseline data “would not

        provide the information necessary to evaluate” impacts of future discharges (id.),

        such data is required and would provide information necessary to evaluate the effects

        of MVP’s discharges on the receiving waterbodies’ assimilative capacity for

        sediment and ability to meet water quality criteria (W. Va. C.S.R. §60-5-3.4

        (AD035)). To understand the capacity of those streams to withstand MVP’s

        additional pollution, WVDEP needed, inter alia, data about the macroinvertebrates

        inhabiting the affected stream beds—known as benthic assessments—on each and

        every stream. CERT_000140-41 (JA0044-45) (describing adverse effects of pipeline

        crossing sedimentation on benthic invertebrates). WVDEP’s failure to require or

        evaluate such data resulted in WVDEP failing to examine an important aspect of the

        problem. Cf. Friends of Back Bay v. U.S. Army Corps of Eng’rs, 681 F.3d 581, 588

        (4th Cir. 2012) (“A material misapprehension of the baseline conditions existing in

        advance of an agency action can lay the groundwork for an arbitrary and capricious

        decision.”).

              Compliance with West Virginia’s narrative water quality standards can be

        measured through biological assessments, including benthic monitoring. See Pruitt,



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        893 F.3d at 228 (describing the West Virginia Stream Condition Index as a measure

        of compliance with narrative criteria); Ohio Valley Envtl. Coalition v. Fola Coal Co.,

        845 F.3d 133, 138, 144 (4th Cir. 2017) (same); Ohio Valley Envtl. Coalition, Inc. v.

        U.S. Army Corps of Eng’rs, 716 F.3d 119, 124 (4th Cir. 2013) (same). Consequently,

        WVDEP needs to review baseline benthic data to understand the present condition

        of the affected streams before making predictions about effects from instream

        construction.

              Indeed, such baseline data is required by WVDEP’s antidegradation rule

        (W. Va. C.S.R. §60-5-3.4 (AD035)) and by the scientific literature examining the

        effects of pipeline crossings. In order to predict the potential effects of open-cut, dry-

        ditch crossings on specific streams, “[m]onitoring prior to construction should

        include both habitat and biological surveys upstream and downstream of the

        proposed crossing location.” CERT_000071 (JA0030). Robust baseline data are

        needed for “effect assessment” and to provide “valuable information on site-specific

        characteristics such as sensitive species” CERT_000072 (JA0031). For those

        reasons, EPA called for the gathering and evaluation of baseline data for the streams

        at issue in its comments on MVP’s §404 permit application. COMM_000708-09

        (JA1069-70). But consideration of that sort of information is entirely absent from

        WVDEP’s decision here, notwithstanding MVP’s provision of some baseline data

        late in WVDEP’s review of its application. CERT_000219 (JA0062). Baseline data



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        about the biological status of benthic communities in the affected streams would

        provide a metric to evaluate potential impacts to water quality from MVP’s activities,

        but WVDEP arbitrarily and capriciously dismissed the need for such evaluations.

              Finally, WVDEP is wrong, and its explanation runs counter to the record,

        when it asserts that there are no available methods to predict the sedimentation that

        would result from stream crossings. CERT_000221 (JA0064). Two available

        methods would have allowed MVP to predict future sedimentation as part of its

        antidegradation analysis: review of real-world data and modeling.

              WVDEP could have evaluated, through benthic assessments or otherwise, the

        condition of the 23 streams and 9 wetlands in West Virginia at which MVP

        completed open-cut crossings before this Court vacated its stream-crossing permit

        in 2018. CERT_000009 (JA0009). Indeed, WVDEP admitted that inspectors found

        violations at some of those sites. Id. And, from comments submitted by Petitioners,17

        WVDEP was aware of persistent sedimentation downstream from an MVP open-cut,

        dry-ditch crossing in Virginia “nearly 40 months after the completion of the

        crossing.”18 Evaluation of real-world data from open-cut crossings that MVP had



        17 On November 19, 2021, Petitioners sent WVDEP a copy of a comment letter on
           MVP’s §404 permit application. COMM_000910 (JA1130).
        18 Letter from Appalachian Mountain Advocates, Inc., et al, to Adam Fannin, U.S.
           Army Corps of Eng’rs, Re: Public Comments on Public Notice Nos. LRH-2015-
           00592-GBR, LRP-2015-798, and NAO-2015-0898 (the Mountain Valley
           Pipeline Project) and on the FERC Environmental Assessment for the Mountain

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        already constructed was a method available to WVDEP to make predictions about

        the future crossings. Yet WVDEP arbitrarily and capriciously ignored that data. See

        Wild Virginia, 24 F.4th at 928.

              Moreover, as evidenced by modeling MVP performed (at FERC’s insistence)

        of the sedimentation effects of its proposed open-cut crossings of the Elk, Gauley,

        and Greenbrier Rivers prior to 2017, predictions of turbidity and sedimentation from

        crossings are possible through the use of models. REL_000421 (JA1294); see also

        Hansen & Betcher, Sediment Generation and Impacts from Dry-Ditch Open-Cut

        Stream Crossings Such as Those Proposed for the Mountain Valley Pipeline 6 (May

        26, 2021) (JA0955) (noting the absence from MVP’s application of “site-specific …

        modeling to predict the scale of impacts”). Petitioners brought the availability of

        such modeling to WVDEP’s attention in comments, COMM_000171 (JA0818), yet

        WVDEP ignored that availability and arbitrarily and capriciously concluded that

        there were no methods available to make location-specific sedimentation predictions

        in an antidegradation review.




           Valley Pipeline Project at 59-61 (Nov. 19, 2021) (JA1190-92) (emphasis
           original).


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                                         CONCLUSION

              For the foregoing reasons, Petitioners respectfully request that this Court

        vacate WVDEP’s December 30, 2021 §401 Certification.


                             REQUEST FOR ORAL ARGUMENT

              Petitioners respectfully request that this Court allow oral argument on this

        petition for review because it presents questions of continuing and important public

        interest. MVP will trench through hundreds of streams and wetlands under the

        Certification at issue. Moreover, given the legal and factual issues presented, the

        decisional process would be aided by oral argument.

        DATED:      June 7, 2022        Respectfully submitted,

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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT


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           22-1008             Caption: __________________________________________________
                                        Sierra Club et al. v. W. Va. Dep't of Envtl. Prot. et al.

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              I hereby certify that, on June 7, 2022, I electronically filed the foregoing with

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